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                         3 the ?Jlniteb Stafto flitrttt Court
                        for the boutbern flttrict of georgia
                                 30aptromo Athoton
              MELVIN DAMOND BENJAMIN,              *
                                                   *
                         Petitioner,               *       CIVIL ACTION NO.: 5:15-cv-67
                                                   *
                   V.                              *
                                                   *
              UNITED STATES OF AMERICA,            *       (Case No.: 5:13-cr-13)
                                                   *
                         Respondent.               *


                                               ORDER

                   Presently before the Court is the Magistrate Judge's

              August 8, 2016, Report and Recommendation, (dkt. no. 12), to

              which Melvin Benjamin, ("Benjamin"), failed to file Objections.

              After an independent and de novo review of the entire record,

              the Court CONCURS with the Magistrate Judge's Report and

              Recommendation and ADOPTS the Report and Recommendation as the

              opinion of the Court. Consequently, the Court GRANTS

              Respondent's Motion to Dismiss, (dkt. no. 4), DISMISSES

              Benjamin's Motion to Vacate, Set Aside, or Correct his Sentence,

              filed pursuant to 28 U.S.C. § 2255, (dkt. no. 1), and DENIES

              Benjamin a Certificate of Appealability and in forma pauperis

              status on appeal. In addition, the Court DISMISSES as moot any




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              other Motions which are pending before the Court, including

              Benjamin's Motion for Order, dkt. no. 13) . The Court DIRECTS

              the Clerk of Court to enter the appropriate judgment of

              dismissal and to CLOSE this case.

                   SO ORDERED,   this    V7/ c\ay of             _______, 2016.




                                         LISA J ODBEY WOOD, CHIEF JUDGE
                                         UNIT1ED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF GEORGIA




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